
LONG, Judge.
The appellant, Barry Slay, appeals from the order revoking his probation. The appellant correctly argues that the trial court failed to make written findings stating the reasons for revoking his probation or the evidence it relied upon in doing so, as required by Rule 27.6(f), Ala.R.Crim.P., and Armstrong v. State, 294 Ala. 100, 812 So.2d 620 (1975). The only written findings by the trial court are the following that appeared on the case action summary sheet:
“Defendant appeared in court with atty. [Wayne] Doerr. Probation revoked by the court. Defendant sent to jail.”
This does not satisfy the requirements of Rule 27.6(f) and Armstrong.
In Wyatt v. State, 608 So.2d 762, 763 (Ala.1992), the Alabama Supreme Court reaffirmed its position that ‘Armstrong v. State requires a written order setting forth the evidence relied upon and the reason for the revocation.” Accordingly, this cause is remanded with directions to the trial court to enter an order stating the evidence relied upon and the reasons for the revocation of the appellant’s probation. The trial court shall take necessary action to see that the circuit clerk makes due return to this Court at the earliest possible time and within 56 days of the release of this opinion. This Court reserves comment on the other issues raised on appeal pending the trial court’s compliance with the directions contained herein and until a proper return is made to this Court.
REMANDED WITH DIRECTIONS. 
All the Judges concur.
